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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

NATIONAL RIFLE ASSOCIATION                   )
OF AMERICA,                                  )
                                             )
                     Plaintiff,              )
                                             )
vs.                                          )    Case No. MC-20-5-C
                                             )
ACKERMAN MCQUEEN, INC., et al.,              )
                                             )
                            Defendants.      )

                                        ORDER

       This case was filed in this district to address a subpoena to a third party. The Court

resolved the issue but due to clerical error, the case was not closed. The Court directs to

Court Clerk to now close this case.

       IT IS SO ORDERED this 6th day of September 2022.
